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                 THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF FLORIDA
                          Tallahassee Division


AUGUST DEKKER, et al.,

                     Plaintiffs,
                                             Case No. 4:22-cv-00325-RH-MAF
               v.

SIMONE MARSTILLER, et al.,

                     Defendants.


  PLAINTIFFS’ MOTION FOR AN ORDER EXCLUDING TESTIMONY
   AND/OR TO DISCLOSE THE IDENTITY OF DECLARANTS AND
           INCORPORATED MEMORANDUM OF LAW
        Pursuant to Federal Rules of Evidence 402, 403, and 701, Plaintiffs hereby

move for an order excluding the declarations of Defendants’ non-expert witnesses

submitted in Response to Plaintiffs’ Motion for Preliminary Injunction, or, as an

alternative, an order requiring Defendants to provide the identities of its

pseudonymous non-expert witnesses.

   I.       INTRODUCTION

        Plaintiffs filed their Motion for Preliminary Injunction (ECF 11) on

September 12, 2022 (the “Motion”) regarding Defendants’ newly created rule, Fla.

Admin. Code R. 59G-1.050(7), which deems gender-affirming care medically

unnecessary for all individuals diagnosed with gender dysphoria regardless of the
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advice of their treating medical professionals. In response, Defendants proffer

numerous declarations of non-expert witnesses, each of whom either offer testimony

as to their own anecdotal experience with gender-affirming care or their unqualified

opinions regarding the efficacy of the same. These declarations were proffered in

support of Defendants’ position that gender-affirming care is medically unnecessary

and experimental. This irrelevant and medically unsupported testimony is

inadmissible.

      Defendants have also failed to provide the identities of two of the declarants,

C.G. and Jeanne Crowley (attachments 13 and 22 to Defendants’ Appendix, also

filed ECF 53-22 and 53-31), despite having never filed a motion with this Court to

proceed with pseudonymous declarants. Plaintiffs have repeatedly requested the

identities of the two declarants at issue and even agreed to keep their information

confidential until Defendants could file and obtain a ruling on a motion to proceed

pseudonymously but they continue to refuse to provide their actual identities. 1 The



1
 Following Plaintiffs’ requests for the pseudonymous declarants’ true identities,
Defendants offered to provide such identities only after a protective order was in
place. But Defendants put the cart before the horse. There is no protective order to
agree to if there is no leave to proceed pseudonymously. Defendants have not
articulated before this Court or to Plaintiffs’ counsel why these declarants should be
allowed to proceed pseudonymously. In any event, even if leave was granted,
Plaintiffs’ counsel would be entitled to know their identities and, as stated herein,
Plaintiffs agreed to keep the pseudonymous declarants’ identities confidential until
Defendants could obtain a ruling on a motion to proceed pseudonymously.


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failure to provide these two declarants’ actual identities has and continues to

prejudice Plaintiffs, as they cannot properly respond to their testimony or otherwise

conduct their due diligence in preparing for the preliminary injunction hearing

scheduled on October 12, 2022, less than 5 days from now. Thus, as to these two

declarants, C.G. and Jeanne Crowley, this Court should either exclude their

testimony entirely or, at a minimum, require Defendants to disclose their identities.

      Moreover, as to all the lay witness declarants, the Court should exclude their

declarations based on prejudice and lack of relevance. (Attachments 13-22 of

Defendants’ Appendix, also filed as ECF 53-22 to 31). While this Court is vested

with broad discretion in admission of non-expert witness testimony, the general rule

is that opinion testimony of non-expert witnesses should be excluded. Montag by

Montag v. Honda Motor Co., Ltd., 75 F.3d 1414, 1420–21 (10th Cir. 1996).

Moreover, lay witness testimony regarding specialized knowledge is readily

excludable. Democratic Party Washington State v. Reed, No. C00-5419FDB, 2002

WL 32925223, at *15 (W.D. Wash. Mar. 27, 2002); United States v. Articles of Food

& Drug, 444 F. Supp. 266, 272 (E.D. Wis. 1977).

   II. STATEMENT OF FACTS

      Defendants submitted declarations from a host of non-expert lay witnesses

who are active opponents of gender-affirming care to support their Response in

Opposition to the Motion for a Preliminary Injunction. These witnesses consist of


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both “de-transitioners” 2 and parents of persons who received some form of gender-

affirming care—two of whom are parents who do not support their transgender adult

children’s transgender identification. 3 (Redacted Defendants’ Appendix to Response

in Opposition to Motion for Preliminary Injunction (“App.”) at 871-935). All of

them are from out-of-state, except for one (Julie Framingham). Of the declarants,

two proceed under pseudonyms: C.G., a detransitioner, and Jeanne Crowley, a parent

of someone who received gender-affirming care. C.G. and Mrs. Crowley are both

adults.

      While each of these declarants may have anecdotal personal experiences, none

of their experiences are relevant to whether the Challenged Exclusion violates the

Equal Protection Clause or the Affordable Care Act’s nondiscrimination provision,

nor do they aide the Court in determining whether Defendants adhered to appropriate

processes in formulating the Challenged Exclusion 4 or whether the Challenged Rule

is a mere pretext and has no rational relationship to the safety of the citizens of the

state of Florida as alleged.


2
  Defendants submitted the following declarations from detransitioners regarding
their experiences and concerns with gender-affirming care: “C.G.” (App. at 871);
Camille Kiefel (id. at 878); Carol Freitas (id. at 885); Chloe Cole (id. at 892); Kathy
Grace Duncan (id. at 900); Sydney Wright (id. at 905); and Zoe Hawes (id. at 912).
3
 Defendants offer the declarations from family members of gender-affirming care
patients: Yaacov Sheinfeld (id. at 919); Julie Framingham (id. at 925); and Jeanne
Crowley (id. at 931).


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III.   ARGUMENT

       Plaintiffs request that this Court exclude the inflammatory, irrelevant, and

unqualified declarations of Defendants’ non-expert witnesses. Such exclusion is

appropriate here, as these declarations’ probative value is “substantially outweighed

by a danger of … unfair prejudice, undue delay, wasting time, or needlessly

presenting cumulative evidence.” Fed. R. Evid. 403. This prejudice is exacerbated

by Defendants’ refusal to even identify two of their non-expert witnesses, preventing

Plaintiffs from properly opposing their testimony. The testimony merely introduces

anecdotal beliefs and conjecture into the record from those who, based on the

submissions, are not Florida residents or Florida Medicaid recipients. (See ECF 53-

22 to ECF 53-31). They are likewise not parties to this action and cannot attest to

the harm that Plaintiffs here will suffer if the Challenged Exclusion is not enjoined.

Further, Defendants’ experts have provided their opinions regarding the realities of

gender-affirming care rendering these lay witnesses’ views, which are not

admissible under Rule 701, cumulative and unnecessary to reach the merits of the

Motion.

          a. Defendants’ Non-Expert Declarations Are Wholly Anecdotal and
             Subject to Exclusion.

       “If a witness is not testifying as an expert, testimony in the form of an opinion

is limited to one that is: (a) rationally based on the witness’s perception; (b) helpful

to clearly understanding the witness's testimony or to determining a fact in issue;

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and (c) not based on scientific, technical, or other specialized knowledge within the

scope of Rule 702.” Fed. R. Evid. 701.

       Here, Defendants proffer declarations from detransitioners and parents of

patients who have received gender-affirming care. The crux of these declarations is

that gender-affirming care is harmful and experimental. While this Court is vested

with broad discretion in admission of non-expert witness testimony, the general rule

is that opinion testimony of non-expert witnesses should be excluded. Montag by

Montag v. Honda Motor Co., Ltd., 75 F.3d 1414, 1420–21 (10th Cir. 1996).

       Beyond that, non-expert testimony is especially inappropriate when the

witnesses are not “simply testifying to ordinary matters within the realm of common

experience, such as the appearance of persons or things ….” Democratic Party

Washington State v. Reed, No. C00-5419FDB, 2002 WL 32925223, at *15 (W.D.

Wash. Mar. 27, 2002). Instead, “these witnesses are giving their opinions, based on

their purported experience and specialized knowledge, about the ultimate issues in

the case.” Id. In fact,

              [t]he danger here is that rather than the factual
              underpinnings consisting of empirical data, the witnesses'
              conclusions are supported by their experience (an
              amorphous matter in most cases), isolated anecdotal
              evidence, or belief. This kind of evidence going to critical
              aspects of this case does not make for proper opinion
              testimony—lay or expert—and it must be excluded.

Id; see also United States v. Articles of Food & Drug, 444 F. Supp. 266, 272 (E.D.


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Wis. 1977) (“Anecdotal and testimonial evidence as to cures or effects of treatments

on cancer victims as described by lay persons … is not probative or substantial

evidence of the safety and efficacy of cancer treatments.”).

      All but one of the non-expert witnesses are from out-of-state. They have no

knowledge of how gender-affirming care has been provided or covered for

transgender Medicaid beneficiaries like Plaintiffs. They have absolutely no stake on

the outcome of this case, and their testimony has no bearing on the issues. If

anything, these declarants’ out-of-state provenance illustrates the activist,

ideological nature of their testimony. This case is not the forum for such ideological

grandstanding, however.

      Plaintiffs recognize that (unfortunately) the issue at hand lends itself to

polarizing views and sometimes caustic opposition, but Defendants’ non-expert

declarations flood this Court with testimony of no relevance and of the lowest

reliability. This is particularly true, where, as here, the issue presented is a legal

matter for this Court that should not be muddied by the declarants unqualified

opinions (as opposed to the opinions of those with expertise in rendering gender-

affirming care).

         b. Defendants’ Pseudonymous Declarations Should Be Separately
            Stricken for Their Own Reasons.

      Defendants’ non-expert declarants C.G. and Jeanne Crowley proceed under

pseudonyms. Though this procedure is commonplace among minors and their

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plaintiff-guardians for privacy reasons, neither declaration here offers any good

reason for pseudonymity. Although the parties engaged in a protracted meet and

confer, during which Plaintiffs offered to maintain the declarants’ identities in

confidence until this Court could address the issue, Defendants have refused to

provide that information.     This refusal has prevented Plaintiffs from properly

responding to at least the testimony contained in these two declarations. Defendants

have still not filed an appropriate motion to keep their identities hidden and have

likewise failed to withdraw the declarations.

      “A party may proceed anonymously in a civil suit in federal court by showing

that she has a substantial privacy right which outweighs the customary and

constitutionally-embedded presumption of openness in judicial proceedings.”

Plaintiff B. v. Francis, 631 F.3d 1310, 1315-16 (11th Cir. 2011) (cleaned up)

(emphasis added). C.G. is an adult whose identity is not protected by Fed. R. Civ.

P. 5.2 and who does not articulate why his identity should be kept confidential.

Similarly, Ms. Crowley is an adult who fails articulate why her identity should be

kept confidential beyond her desire to protect her and her family’s privacy, and her

declaration is entirely vague, failing to provide sufficient information for Plaintiffs

to determine whether her child is an adult or a minor. Specifically, Mrs. Crowley

declares that she authorized gender-affirming care for her “pre-teen” child, but Mrs.

Crowley fails to allege when such care was provided or what age her child is now.


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Mrs. Crowley is not entitled to a presumption that she speaks on behalf of or

regarding a minor without specifically alleging as much. Indeed, it may be that her

child has an entirely different view of the care that they received. Plaintiffs are thus

prevented from further analyzing the testimony because of Defendants’ refusal to

provide their identities.

      Neither C.G. nor Mrs. Crowley are parties forced to litigate their rights. Both

adults submitted their declarations voluntarily to pursue their cause against gender-

affirming care. It cannot be the law that one voluntarily can testify under penalty of

perjury, binding other parties to the consequences of that testimony, without

providing any basis from which one may scrutinize the declarant. Moreso, when

these declarants come from out-of-state to testify against the rights of others.

IV.   CONCLUSION

      For the reasons stated above, Plaintiffs respectfully request that this Court

exclude each of Defendants’ non-expert declarations, or, in the alternative, exclude

those declarations by pseudonymous declarants. At a minimum, Plaintiffs request

that this Court compel Defendants to identify the two declarants who have not been

identified.


      Respectfully submitted this 7th day of October 2022.




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                     CERTIFICATE OF WORD COUNT

      According to Microsoft Word, the word-processing system used to prepare

this Motion and Memorandum, there are 1,955 total words contained within the

Motion and Incorporated Memorandum of Law.

                                                      /s/ Jennifer Altman
                                                      Jennifer Altman



                 CERTIFICATE OF SATISFACTION OF
               ATTORNEY-CONFERENCE REQUIREMENT

      Pursuant to Local Rule 7.1(B), counsel for the Plaintiffs conferred with

counsel for the Defendants on October 4, 5, and 6, 2022. Counsel for Defendants

indicated that Defendants oppose the relief sought.




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                         CERTIFICATE OF SERVICE

      I hereby certify that, on October 7, 2022, I electronically filed the foregoing

with the Clerk of the Court by using the CM/ECF system.


                                                    /s/ Jennifer Altman
                                                    Jennifer Altman




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